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                                           CLERK’S MINUTE SHEET
                                   IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW MEXICO (AT ALBUQUERQUE)

                                           Before the Honorable Laura Fashing
                                                         Arraignment
Case Number:              CR 20-1210 JP                           UNITED STATES vs. JUSTICE
Hearing Date:             5/21/2020                               Time In and Out:          9:53-9:58
Courtroom Deputy:         N. Maestas                              Digital Recording:        ABQ Zoom
Defendant:                Charles Brent Justice                   Defendant’s Counsel:      Joe M. Romero Jr.
AUSA:                     Elisa Dimas                             Pretrial/Probation:
Interpreter:              N/A
Proceedings
☐     First Appearance by Defendant
☐     Defendant waived appearance at Arraignment
☒     Defendant received a copy of charging document
☒     Defendant questioned re: time to consult with attorney regarding penalties
☒     Defendant waives reading of Indictment
☒     Defendant enters a Not Guilty plea
☒     Motions due by: Wednesday, June 10, 2020
                                                                                            Discovery Order not entered;
                                           ☐
      Parties agree Standing Discovery             Discovery Order previously
☒     Order to be electronically entered           entered
                                                                                        ☐   parties to confer pursuant to Rule
                                                                                            16.1(a) within 14 days
☒     Case assigned to: Judge Parker
☒     Trial will be scheduled by presiding judge                  ☐ Trial currently set
☐     Defendant waives Detention Hearing
Custody Status
☒     Defendant previously detained
☐     Conditions
Other
☒     Defendant waives personal presence at hearing/Court accepts Defendant’s waiver
